Case 6:21-cv-00055-NKM-RSB Document 37 Filed 12/17/21 Page 1 of 4 Pageid#: 1006


                                                                                        12/17/2021
                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                         LYNCHBURG DIVISION


   WALTER SCOTT LAMB,
                                                        CASE NO. 6:21-CV-00055
                                  Plaintiff,
   v.                                                   ORDER

   LIBERTY UNIVERSITY, INC.,
                                                        JUDGE NORMAN K. MOON
                                  Defendant.


         This matter is before the Court on Defendant Liberty University’s motion for a

  preliminary injunction, Dkt. 11. The motion will be granted in part and denied in part. After

  hearing the evidence, the Court finds that Liberty has made the requisite showing to justify an

  order requiring Scott Lamb, a former Liberty University administrator, to turn over all material

  belonging to Liberty that is currently in his possession.

                                                    I

         On October 6, 2021, Scott Lamb was dismissed from his position as Vice President of

  Communications at Liberty. While employed, Lamb utilized an application that allowed for easy

  download of documents from Liberty servers onto his personal devices. Lamb still has access to

  those documents. Additionally, Lamb retains email exchanges between himself and other Liberty

  officials that were forwarded (by an automated process) to his personal account; recorded audio

  of high-level Liberty meetings; and unspecified printed documents. Liberty claims ownership

  over all non-public communications and iterative work product arising from Lamb’s

  employment (hereinafter “Liberty Documents”) and asks the Court to order their return.

                                                   II

         Preliminary injunctive relief is an extraordinary remedy that should “be granted only
Case 6:21-cv-00055-NKM-RSB Document 37 Filed 12/17/21 Page 2 of 4 Pageid#: 1007



  sparingly and in limited circumstances.” MicroStrategy Inc. v. Motorola, Inc., 245 F.3d 335, 339

  (4th Cir. 2001) (internal quotation marks omitted). A party seeking preliminary injunctive relief

  must meet a demanding standard, independently satisfying four requirements. Real Truth About

  Obama, Inc. v. Fed. Election Comm’n, 575 F.3d 342, 346 (4th Cir. 2009) (clarifying that “all

  four requirements must be satisfied” by the party seeking a preliminary injunction). To succeed,

  Liberty must establish that: (1) it is likely to succeed on the merits of its legal claims; (2) it is

  likely to suffer irreparable harm in the absence of preliminary relief; (3) the balance of equities

  favors the grant of preliminary relief; and (4) an injunction is in the public interest. Winter v.

  Natural Resources Defense Council, Inc., 555 U.S. 7, 20 (2008). The Court takes each factor in

  turn.

                                   Likelihood of Success on the Merits

          Counts IV and VI of Liberty’s counterclaim state actions for conversion and detinue.

  Likelihood of success on the merits was conceded at the evidentiary hearing held on December

  17, 2021. Both parties agree that Lamb is currently in possession of materials not belonging to

  him, and that the materials should be returned to Liberty.

                                             Irreparable Harm

          Lamb has admitted to sharing Liberty Documents with members of the media. Liberty

  has also offered evidence that Lamb disclosed Liberty Documents to opposing counsel in

  ongoing litigation against Liberty. “[G]enerally irreparable injury is suffered when monetary

  damages are difficult to ascertain or are inadequate.” MultiChannel TV Cable Co. v.

  Charlottesville Quality Cable Operating Co., 22 F.3d 546, 551 (4th Cir. 1994). Liberty cannot

  unring the bell if Lamb chooses to disseminate Liberty Documents.

                                 Balance of Equities and Public Interest



                                                    –2–
Case 6:21-cv-00055-NKM-RSB Document 37 Filed 12/17/21 Page 3 of 4 Pageid#: 1008



         If it is true that Lamb possesses documents that do not belong to him—and he admits that

  it is—he loses nothing by being required to turn them over. Public interest favors the protection

  of internal communications and iterative work-product. Universities cannot function without

  confidence that their internal communications, especially on sensitive issues, will be kept in

  confidence.

                                                  III.

         Liberty’s has also asked the Court to prohibit Lamb from speaking publicly about the

  internal workings at Liberty. But Liberty has failed to identify a likelihood of success on the

  merits of any claim that would entitle it to prevent Lamb from speaking. Liberty’s appeal to trade

  secret law and common law fiduciary duties are in effect requests for an extension of Virginia

  law into a new area. These causes of action relate to a particular category of confidential

  business information. This category contains things like customer and supplier lists and

  proprietary technical information and is simply not implicated here. Though Liberty offered

  some evidence that Lamb has in his possession certain of Liberty’s trade secrets, it has not

  offered any evidence that Lamb is likely to disclose those documents. The Court declines, in this

  preliminary injunction posture, to extend Virginia law into a new context.

                                                  IV.

         Liberty’s motion for a preliminary injunction, Dkt. 11, is GRANTED in part and

  DENIED in part. Lamb is hereby ORDERED to return all Liberty Documents to Liberty and to

  refrain from sharing those documents with anyone. The parties are instructed to confer on a plan

  to identify, separate, and return Liberty’s information from Lamb’s possession and are

  ORDERED to report to the Court by close of business on Monday, December 20, 2021.

         It is so ORDERED.



                                                 –3–
Case 6:21-cv-00055-NKM-RSB Document 37 Filed 12/17/21 Page 4 of 4 Pageid#: 1009



         The Clerk of the Court is hereby directed to send a certified copy of this Order to all counsel

  of record.
                       17th day of December, 2021.
         Entered this _____




                                                  –4–
